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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                              :               CRIMINAL ACTION
                 v.                           :
                                              :               No. 94-196
MELVIN WILLIAMS

USM #47672-066
                                    NOTICE OF HEARING

        Take notice that the defendant is scheduled for a RESENTENCING hearing on March
27, 2024 at 10:30 AM before the Honorable Anita B. Brody in Courtroom 7-B of the United
States District Court, 601 Market Street, Philadelphia, PA 19106.

☒ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☐ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on
bail or supervision and fails to appear as directed, the presiding judge may issue a bench warrant.

☐ Interpreter: A           interpreter will be required for the defendant.

☐ Hearing rescheduled from:

For additional information, please contact the undersigned.

By:              Joseph Walton
                 Courtroom Deputy to J. Brody
                 Phone: 267-299-7431

Date:            1/23/24

cc via U.S. Mail:       Defendant
cc via email:           Defense Counsel Abigail Horn
                        Assistant U.S. Attorney Robert A. Zauzmer
                        U.S. Marshal
                        Court Security
                        Probation Office
                        Pretrial Services
                        Interpreter Coordinator


crnotice (July 2021)
